     Case 18-04756-dd                 Doc 10         Filed 09/22/18 Entered 09/23/18 00:34:53                            Desc Imaged
                                                   Certificate of Notice Page 1 of 4
Information to identify the case:
Debtor 1              CATHY VALRIE EDWARDS                                              Social Security number or ITIN        xxx−xx−7721
                      First Name   Middle Name    Last Name                             EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                Social Security number or ITIN _ _ _ _
                      First Name   Middle Name    Last Name
(Spouse, if filing)
                                                                                        EIN     _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            District of South Carolina
                                                                                        Date case filed for chapter 7 9/19/18
Case number:          18−04756−dd


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                             12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                     About Debtor 2:

1.      Debtor's full name                       CATHY VALRIE EDWARDS

2.      All other names used in the aka Cathleen V Edwards, aka Catheleen V Edward,
        last 8 years                aka Cathy V Edwards, aka Cathy Edwards

3.     Address                               2900 N Oakridge Cir Lot 42
                                             North Charleston, SC 29420

4.     Debtor's attorney                     Sean P. Markham                                        Contact phone 843−284−3646
                                             Markham Law Firm, LLC
       Name and address                      PO Box 20074                                           Email: None
                                             Charleston, SC 29413−0074

5.     Bankruptcy trustee                    Kevin Campbell                                         Contact phone (843) 884−6874
                                             PO Box 684
       Name and address                      Mount Pleasant, SC 29465                               Email: kcampbell@campbell−law−firm.com
                                                                                                               For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 1
   Case 18-04756-dd                          Doc 10           Filed 09/22/18 Entered 09/23/18 00:34:53                                      Desc Imaged
                                                            Certificate of Notice Page 2 of 4
Debtor CATHY VALRIE EDWARDS                                                                                                        Case number 18−04756−dd


6. Bankruptcy clerk's office                    J. Bratton Davis United States                                            Hours open 9:00 am − 5:00 pm
                                                Bankruptcy Courthouse
    Documents in this case may be filed at this 1100 Laurel Street                                                        Contact phone: 803−765−5436
    address. You may inspect all records filed Columbia, SC 29201−2423
    in this case at this office or online at
    www.pacer.gov.                                                                                                        Date: 9/20/18


7. Meeting of creditors                                    October 29, 2018 at 10:00 AM                                   Location: King and Queen
    Debtors must attend the meeting to be                  The meeting may be continued or adjourned to a                 Building, 145 King Street, Room
    questioned under oath. In a joint case,                later date. If so, the date will be on the court               225, Charleston, SC 29401
    both spouses must attend. Creditors may
    attend, but are not required to do so.                 docket. *** Valid photo identification required ***


8. Presumption of abuse                                    The presumption of abuse does not arise.
    If the presumption of abuse arises, you may have
    the right to file a motion to dismiss the case under
    11 U.S.C. § 707(b). Debtors may rebut the
    presumption by showing special circumstances.



9. Deadlines                                   File by the deadline to object to discharge or                             Filing deadline: 12/28/18
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.                        You must file a complaint:
                                                           • if you assert that the debtor is not entitled to receive a
                                                           discharge of any debts under any of the subdivisions of 11
                                                           U.S.C. § 727(a)(2) through (7), or
                                                           • if you want to have a debt excepted from discharge
                                                           under 11 U.S.C § 523(a)(2), (4), or (6).
                                                           You must file a motion:
                                                           • if you assert that the discharge should be denied under §
                                                           727(a)(8) or (9).


                                                           Deadline to object to exemptions:                              Filing deadline: 30 days after the
                                                           The law permits debtors to keep certain property as            conclusion of the meeting of creditors
                                                           exempt. If you believe that the law does not authorize an
                                                           exemption claimed, you may file an objection.


10. Proof of claim Please do not file a                    No property appears to be available to pay creditors. Therefore, please do not file a
    proof of claim unless you receive a notice             proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    to do so.                                              will send you another notice telling you that you may file a proof of claim and stating the
                                                           deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                                        The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                           not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                           exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                           www.pacer.gov. If you believe that the law does not authorize an exemption that the
                                                           debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                           objection by the deadline to object to exemptions in line 9.

13. Miscellaneous Notice                                   The Voice Case Information System (VCIS) will give status information on cases filed or
                                                           converted after 11/30/88. Call 1−866−222−8029. Please refer to the Court's web site at
                                                           www.scb.uscourts.gov for further information. Chapter 7 cases: Property of the estate
                                                           may be abandoned by the trustee at the meeting of creditors unless creditors or parties
                                                           in interest object to SC LBR 6007−1.

14. Options to Receive Notices                             (1) Anyone can register for the Electronic Bankruptcy Noticing program at
    Served by the Clerk by Email                           bankruptcynotices.uscourts.gov OR (2) Debtors can register for DeBN by filing local
    Instead of by U.S. Mail                                form 'Debtor's Electronic Noticing Request (DeBN)' with the Clerk of Court. Both options
                                                           are FREE and allow the clerk to quickly send you court−issued notices and orders by
                                                           email. See Local Rule 9036−1.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                        page 2
        Case 18-04756-dd             Doc 10       Filed 09/22/18 Entered 09/23/18 00:34:53                         Desc Imaged
                                                Certificate of Notice Page 3 of 4
                                               United States Bankruptcy Court
                                                District of South Carolina
In re:                                                                                                     Case No. 18-04756-dd
CATHY VALRIE EDWARDS                                                                                       Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0420-2                  User: weathers                     Page 1 of 2                          Date Rcvd: Sep 20, 2018
                                      Form ID: b309a                     Total Noticed: 28


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Sep 22, 2018.
db             +CATHY VALRIE EDWARDS,    2900 N Oakridge Cir Lot 42,      North Charleston, SC 29420-4261
543500247      +Capital one,    PO Box 1083,    Charlotte NC 28201
543500250      +Charleston Radiologists,     9330 Medical Plaza Dr,     Dept Medicalimaging,
                 Charleston SC 29406-9104
543500251      +Check N Go,    8316 Rivers Ave,    Suite B,    Charleston SC 29406-9822
543500253      +Credit Central LLC,    5900 Rivers Avenue,     Charleston SC 29406-6054
543500252      +Credit Central LLC,    5900 Rivers Avenue,     Unit 1,    Charleston SC 29406-6054
543500255      +Financial Data Systems,    1638 Military Cutoff Rd,      Wilmington NC 28403-5716
543500257      +Gable Mobile Home Park,    8401 E Saddlebrook Dr,      North Charleston SC 29420-7539
543500262      +Republic,    9730 Dorchester Rd,    Unit 205,    Summerville SC 29485-9034
543500263       Republic Finance,    440 Old Trolley Rd,    STE G,     Summerville SC 29485-5685
543500264      +SCDMH ED Care,    2414 Bull St,    Suite 201,    Columbia SC 29201-1906
543500267      +Southern Finance,    101 N Main St,    STE 600,    Greenville SC 29601-4846
543500266      +Southern Finance,    946 Orleans Rd,    Charleston SC 29407-4849
543500268       Southern Finance Company,     481 King St,    Charleston SC 29403-6231

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: smarkham@markhamlawsc.com Sep 20 2018 22:07:50         Sean P. Markham,
                 Markham Law Firm, LLC,    PO Box 20074,    Charleston, SC 29413-0074
tr             +EDI: QKCAMPBELL.COM Sep 21 2018 01:48:00        Kevin Campbell,    PO Box 684,
                 Mount Pleasant, SC 29465-0684
ust            +E-mail/Text: ustpregion04.co.ecf@usdoj.gov Sep 20 2018 22:07:58         US Trustee’s Office,
                 Strom Thurmond Federal Building,    1835 Assembly St.,      Suite 953,   Columbia, SC 29201-2448
543500246      +EDI: IIC9.COM Sep 21 2018 01:48:00       AT&T,    PO Box 64378,    Saint Paul MN 55164-0378
543500249      +EDI: CAPITALONE.COM Sep 21 2018 01:48:00        CAPITAL ONE NTL ASSOC,    PO Box 26030,
                 Richmond VA 23260-6030
543500248      +EDI: CAPITALONE.COM Sep 21 2018 01:48:00        Capital one,    PO Box 30281,
                 Salt Lake City UT 84130-0281
543500254       EDI: CMIGROUP.COM Sep 21 2018 01:48:00       Credit Managment LP,     4200 International Pkwy,
                 Carrollton TX 75007-1912
543500256       EDI: BLUESTEM Sep 21 2018 01:48:00       Fingerhut/WEBBANK,     6250 Ridgewood Rd,
                 Saint Cloud MN 56303-0820
543500258      +EDI: IIC9.COM Sep 21 2018 01:48:00       IC System Inc,    PO Box 64378,
                 Saint Paul MN 55164-0378
543500259      +EDI: RESURGENT.COM Sep 21 2018 01:48:00        LVNV Funding LLC,    PO Box 1269,
                 Greenville SC 29602-1269
543500260      +E-mail/Text: bankruptcy@wscadc.tzo.com Sep 20 2018 22:08:02         National Finance Company,
                 4365 Dorchester Rd.,    Suite 102,   North Charleston SC 29405-8422
543500261      +E-mail/Text: bankruptcy@rmccollect.com Sep 20 2018 22:08:08         Receivable Managment Comp,
                 1601 Shop Rd STE D,    Columbia SC 29201-4855
543500265       E-mail/Text: bankruptcynotices@abs-sca.com Sep 20 2018 22:08:14         Security Collection Agency,
                 PO Box 910,   Edenton NC 27932-0910
543500269       E-mail/Text: bankruptcy@wscadc.tzo.com Sep 20 2018 22:08:02         Wester Shamrock,    801 S Abe St,
                 San Angelo TX 76903-6735
                                                                                                 TOTAL: 14

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Sep 22, 2018                                            Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING
      Case 18-04756-dd       Doc 10     Filed 09/22/18 Entered 09/23/18 00:34:53           Desc Imaged
                                      Certificate of Notice Page 4 of 4


District/off: 0420-2         User: weathers              Page 2 of 2                   Date Rcvd: Sep 20, 2018
                             Form ID: b309a              Total Noticed: 28


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on September 19, 2018 at the address(es) listed below:
              Kevin Campbell    kcampbell@campbell-law-firm.com, kcampbell@ecf.epiqsystems.com
              Sean P. Markham   on behalf of Debtor CATHY VALRIE EDWARDS smarkham@markhamlawsc.com,
               r41727@notify.bestcase.com
              US Trustee’s Office    USTPRegion04.CO.ECF@usdoj.gov
                                                                                            TOTAL: 3
